UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 UMB BANK, N.A., solely in its capacity
 as Trustee under the Contingent Value
 Rights Agreement by and between
 Bristol-Myers Squibb Company and
 Equiniti Trust Company, dated               Case No. __________
 November 20, 2019,
                                             COMPLAINT
                      Plaintiff,

              v.                             JURY TRIAL DEMANDED

 BRISTOL-MYERS SQUIBB
 COMPANY,

                      Defendant.



      By and through its attorneys, Plaintiff UMB Bank, N.A., solely in its capacity

as Trustee (“UMB” or the “Trustee”) under the Contingent Value Rights Agreement

dated November 20, 2019 (the “CVR Agreement”), by and between Bristol-Myers

Squibb Company (“Bristol-Myers”) and UMB’s predecessor Equiniti Trust Company,

alleges as follows:

                                   NATURE OF ACTION
      1.     Bristol-Myers delayed the development and production of lisocabtagene

maraleucel (“Liso-cel”), a life-saving cancer therapy that treats the most common

form of Non-Hodgkin’s lymphoma, with the hope of eliminating its $6.4 billion liabil-

ity under the CVR Agreement. In so doing, Bristol-Myers breached the CVR Agree-

ment, which requires Bristol-Myers to use “Diligent Efforts” to secure approval from

the Federal Drug Administration (“FDA”) for Liso-cel by December 31, 2020. This
suit seeks to hold Bristol-Myers accountable under the CVR Agreement for its blatant

misconduct.

      2.      Bristol-Myers’s $6.4 billion obligation under the CVR Agreement arises

from its November 2019 acquisition of Celgene Corporation (“Celgene”), the pharma-

ceutical company that developed Liso-cel, also known as JCAR017 and by its trade

name Breyanzi. Liso-cel is prescribed for patients suffering from notoriously aggres-

sive large cell Non-Hodgkin’s lymphoma who are not treated effectively by initial

treatments or have relapses. Liso-cel is perceived to have lesser toxicity than other

available treatments for patients with persistent lymphoma and to be particularly

suitable for those who are older or frail. Time is of the essence for such patients.

      3.      The merger and CVR Agreement were announced in January 2019, fol-

lowing approximately six months of negotiations between Bristol-Myers and Celgene,

in which the primary impediment was disagreement over Celgene’s valuation. Bris-

tol-Myers proposed the CVR Agreement as a way to bridge the valuation gap: for each

share of Celgene stock, the holder would receive a contingent value right (“CVR”)

requiring Bristol-Myers to pay $9 (the “Milestone Payment”)—amounting to $6.4 bil-

lion in total—if the FDA approved the marketing applications, known as Biologics

License Applications (“BLAs”) or New Drug Applications, for three Celgene thera-

pies—Liso-cel, the multiple sclerosis therapy Ozanimod, and the multiple myeloma

therapy Ide-cel—by certain contractually set dates. Specifically, if the FDA approved

(i) Liso-cel by December 31, 2020; (ii) Ozanimod by the same date; and (iii) Ide-cel by

March 31, 2021 (collectively, the “Milestones”), then Bristol-Myers was obligated to



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pay $6.4 billion to CVR holders. If Bristol-Myers failed to achieve any Milestone,

even by a day, it would pay $0.

      4.        The CVR Agreement’s binary structure, in the absence of provisions to

protect the CVR holders’ right to payment, creates a perverse economic incentive: if

Bristol-Myers delayed at least one of the three therapies to miss a Milestone, it could

rely on the resulting delay to argue it had eliminated its entire $6.4 billion liability.

If Bristol-Myers’s gambit were successful, it would obtain Celgene at a windfall mar-

ket discount.

      5.        To protect the CVR holders, and to ensure that Bristol-Myers worked

towards securing FDA approval for these life-saving therapies before the Milestones,

the CVR Agreement required Bristol-Myers to “use Diligent Efforts to achieve the

Milestone[s].” Ex. A § 7.8. This requirement meant that Bristol-Myers had to use

the “efforts of a Person to carry out its obligations in a diligent manner using such

effort and employing such resources normally used by such Person in the exercise of

its reasonable business discretion relating to the research, development or commer-

cialization of a product[] that is of similar market potential at a similar stage in its

development or product life.” Id. § 1.1.

      6.        When Celgene controlled Liso-cel and Ide-cel, they were on the fast track

for approval. The FDA had designated both as Breakthrough Therapies and had des-

ignated Liso-cel as a Regenerative Medicine Advanced Therapy. These designations

ensured an expedited development and review process. The FDA committed to pro-

vide intensive, interactive guidance during both therapies’ development—with senior



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FDA personnel involved in a proactive, collaborative review of the therapies—so that

both therapies could enter the market quickly and safely to begin saving lives. The

FDA again recognized Liso-cel’s critical importance to patients by granting it Priority

Review status on February 13, 2020. Priority Review status shortens the Prescrip-

tion Drug User Fee Act (“PDUFA”) date, the FDA’s target date for issuing a decision

on a BLA, from ten months to six months. For BLAs with Priority Review, the FDA

meets the PDUFA date nearly 100% of the time. The PDUFA date for Liso-cel was

August 17, 2020, comfortably four months before the Liso-cel Milestone.

      7.     The momentum toward approval that Celgene built was lost after Bris-

tol-Myers assumed control. Bristol-Myers failed to use Diligent Efforts to achieve

those Milestones, and the FDA approval process for Liso-cel and Ide-cel began to suf-

fer setbacks. Bristol-Myers made a highly atypical decision to exclude critical and

mandatory information in its initial filing of the Liso-cel BLA. It excluded data on

critical tests needed to demonstrate the safety and efficacy of Liso-cel. Bristol-Myers

also withheld details concerning the procedures it used to ensure the tests were valid.

Bristol-Myers belatedly submitted this information through a “major amendment” to

its BLA filed on April 15, 2020—two months after the FDA had accepted Bristol-

Myers’s BLA for review and set the August 17, 2020 PDUFA date. This “major

amendment” automatically extended the PDUFA date by three months to November

17, 2020. That placed the FDA’s target approval date perilously close to the Decem-

ber 31, 2020 Liso-cel Milestone.




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      8.       At almost the same time, Bristol-Myers was also improperly delaying

the approval process for Ide-cel. On May 13, 2020, following an initial review of the

Ide-cel BLA, the FDA determined that the Ide-cel BLA was so materially deficient

that the FDA took the exceedingly rare step of rejecting the Ide-cel BLA entirely.

      9.       Bristol-Myers’s violation of its contractual obligation to use Diligent Ef-

forts did not stop there. Given the delay the major amendment caused for the ap-

proval of the Liso-cel BLA, if it were to meet the contractually agreed Milestones set

forth in the CVR Agreement, it was critical that Bristol-Myers ensure that the rest of

the FDA approval process proceeded smoothly. Instead, Bristol-Myers failed to take

the steps necessary to prepare two Liso-cel manufacturing facilities for the FDA’s

inspections.

      10.      From October 7, 2020 to October 16, 2020, the FDA inspected a Bristol-

Myers facility in Bothell, Washington (the “Juno Facility”) where Bristol-Myers pro-

duces Liso-cel. Even though Bristol-Myers had advance notice of the inspection, it

inadequately prepared the Juno Facility, and the FDA inspectors found numerous,

substantial deviations from known or readily determinable FDA regulations and

guidelines. For example, the FDA found that Bristol-Myers had failed to: (i) imple-

ment appropriate procedures to ensure batches of Liso-cel conformed to appropriate

quality standards; (ii) explain and document discrepancies between batches of Liso-

cel; and (iii) monitor the manufacturing environment to prevent the contamination of

sterile drug products. Weeks later, Bristol-Myers responded to the FDA’s findings,

admitting that it would need to take remedial actions to improve its operations and



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quality control systems to comply with FDA regulations and guidelines. But the FDA

found that even this response by Bristol-Myers contained “unclear and questionable

points,” resulting in more than a month of further delay. Ultimately, Bristol-Myers

failed to provide an adequate response to the FDA’s findings until December 18, 2020,

just days before the Liso-cel Milestone.

      11.    From December 3, 2020 to December 10, 2020, the FDA performed an

inspection of a facility in Houston, Texas owned by Lonza Group AG (the “Lonza Fa-

cility”), where a critical component of Liso-cel is manufactured. Bristol-Myers, as the

manufacturer of Liso-cel, is responsible for ensuring that the Lonza Facility’s prac-

tices complied with FDA requirements. Despite Bristol-Myers’s prior experience and

failings, including having the benefit of the findings from the Juno Facility inspection

in October 2020, it still failed to ensure that the Lonza Facility complied with FDA

requirements. The FDA’s inspection of the Lonza Facility revealed numerous, egre-

gious deviations from FDA regulations and guidelines—many of which mirrored the

unacceptable conditions and procedures the FDA noted in the Juno Facility. For ex-

ample, the FDA had found insufficient controls to check for microbiological contami-

nation of sterile materials at the Juno Facility; the FDA observed similar inadequate

controls to prevent microbial contamination at the Lonza Facility. And although

Bristol-Myers knew from the inspection of the Juno Facility that its procedures for

inspecting raw materials were deficient, the FDA cited the Lonza Facility for failing

to inspect raw materials at all.




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        12.   The FDA identified numerous other egregious violations at the Lonza

Facility that occurred under Bristol-Myers’s control. The FDA found (i) poorly main-

tained and carelessly organized freezer bins full of overturned and frosted-over bot-

tles, (ii) unlocked freezer bins containing material that was supposed to be quaran-

tined, and (iii) material that had expired more than seven months earlier that was

never discarded. The FDA also reported that Bristol-Myers failed to institute proce-

dures to prevent serious quality control errors. For instance, materials that passed

quality control were labeled with the very same color and text as material that had

been rejected, creating a high likelihood of confusion between the two. Similarly,

material that had been rejected by quality control was stored in the same freezer as

material that had passed quality control, and material intended for use within the

United States were stored in the very same freezer as material intended for foreign

markets with different manufacturing standards.

        13.   As news of these mishandled inspections and further delays reached the

public, certain CVR holders became concerned that Bristol-Myers was failing to ex-

ercise the diligence required under the CVR Agreement. They directed the Trustee,

acting on their behalf under the CVR Agreement, to investigate Bristol-Myers’s per-

formance and, if appropriate, take action to enforce their rights under the CVR Agree-

ment.

        14.   The Trustee sought to exercise its contractual right to inspect Bristol-

Myers’s books and records on behalf of the CVR holders to assess whether Bristol-




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Myers was satisfying its obligation under the CVR Agreement to pursue the Mile-

stones for Liso-cel and Ide-cel diligently, or whether there was evidence that Bristol-

Myers had failed to do so purposefully or ineptly.

      15.    On December 29, 2020, shortly after UMB was appointed as the new

Trustee under the CVR Agreement, UMB demanded to review Bristol-Myers’s rele-

vant books and records. Bristol-Myers refused to comply with the Trustee’s proper

demand under the CVR Agreement, which, upon information and belief, was a trans-

parent attempt to conceal its inadequate or improper conduct under the terms of the

CVR Agreement. Bristol-Myers’s failure to permit the Trustee to inspect its relevant

books and records was yet another violation of the CVR Agreement.

      16.    On December 31, 2020, the Liso-cel Milestone lapsed with Bristol-Myers

having failed to secure FDA approval. On January 1, 2021, Bristol-Myers issued a

press release announcing the failure of the Liso-cel Milestone and stating that the

CVR Agreement was terminated and the CVRs would be delisted.

      17.    Approval came just thirty-six days later, on February 5, 2021. Had Bris-

tol-Myers used Diligent Efforts, it would have avoided much more than thirty-six

days of delay caused by, among other things, submitting the major amendment to

supplement its inadequate BLA, failing to properly operate and prepare the Juno and

Lonza Facilities to meet FDA approval requirements, and providing an inadequate

response to the FDA’s findings at the Juno Facility.




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      18.    Other cellular therapies based on similar technology have received FDA

approval without the issues and ineptitude that plagued Bristol-Myers, and in sub-

stantially less time. For example, the Gilead Sciences (“Gilead”) therapy Yescarta

and the Novartis International AG (“Novartis”) therapy Kymriah—both cellular ther-

apies that, like Liso-cel, treat lymphoma—were approved in less than half the time.

Another similar lymphoma therapy, Gilead’s Tecartus, was submitted for FDA review

just one week before Liso-cel but was approved more than six months sooner. Had

Bristol-Myers used Diligent Efforts as required under the CVR Agreement, it would

have avoided the thirty-six-day delay, and the Liso-cel Milestone would have been

achieved.

      19.    With the Liso-cel Milestone missed and the CVRs delisted, Bristol-My-

ers no longer needed Ide-cel to miss its Milestone for it to assert that it had no obli-

gation to pay $6.4 billion to the CVR holders. Bristol-Myers’s lack of Diligent Efforts

had taken the Ide-cel approval process right up to the deadline, with the FDA approv-

ing the Ide-cel BLA on March 26, 2021, just five days before the Ide-cel Milestone

under the CVR Agreement.

      20.    Thus, Bristol-Myers achieved two of the three Milestones, with only the

Liso-cel Milestone left unfulfilled.   Had Bristol-Myers made Diligent Efforts to

achieve the Liso-cel Milestone, it would have been required to pay $6.4 billion to the

CVR holders. Bristol-Myers’s failure to exercise Diligent Efforts has, to date, allowed

it to take control of three FDA-approved blockbuster therapies—Liso-cel, Ozanimod,




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and Ide-cel—at an enormous discount and at the CVR holders’ expense. Bristol-My-

ers almost immediately put this windfall to use, announcing on February 4, 2021 the

repurchase of $4 billion in debt.

        21.   The Trustee brings this suit to hold Bristol-Myers accountable for its

unlawful attempt to evade its obligation to pay CVR holders the $6.4 billion by delay-

ing the delivery of a lifesaving treatment to patients facing terminal cancer.

                                    THE PARTIES
        22.   Plaintiff UMB Bank, N.A., is a federally chartered national banking as-

sociation with its main office, as listed in its articles of association, in Kansas City,

Missouri. On December 18, 2020, UMB succeeded Equiniti Trust Company as Trus-

tee of an express trust for the benefit of the holders of CVRs under the CVR Agree-

ment.

        23.   Defendant Bristol-Myers Squibb Company is a global biopharmaceutical

company incorporated in the state of Delaware and headquartered in New York, New

York.

               JURISDICTION, VENUE, AND GOVERNING LAW
        24.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332,

and the amount in controversy, exclusive of interests and costs, is at least $6.4 billion.

        25.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2).

        26.   Pursuant to Section 1.10 of the CVR Agreement, Bristol-Myers and the

Trustee agreed to submit to the exclusive jurisdiction and venue of any state or fed-

eral court in Manhattan, New York.




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       27.    Pursuant to Section 1.10 of the CVR Agreement, New York law applies

to this action.

                            FACTUAL ALLEGATIONS
I.     Bristol-Myers Acquires Celgene, The Developer Of Liso-Cel, And
       Issues Contingent Value Rights To Bridge The Gap On The Merger
       Price

       28.    In September 2018, Bristol-Myers, an international pharmaceutical

company, proposed a merger with its competitor Celgene that would result in Celgene

becoming a wholly-owned subsidiary of Bristol-Myers.       The merger negotiations

stretched over approximately six months, with Celgene’s valuation the main point of

contention.

       29.    On December 27, 2018, to bridge this valuation gap, Bristol-Myers pro-

posed issuing a contingent value right, known as a CVR, to Celgene stockholders as

additional consideration for their shares. A CVR is a security that generally requires

the issuer to make a payment to the holder of the security if contractually specified

events occur by contractually specified dates. The initial proposal did not list all

terms, but Celgene notified Bristol-Myers that it would accept the proposal so long as

the CVR Agreement’s terms were “clear, tied to near-term events, and aligned with

the strategy of the combined company.”

       30.    Intense negotiations over the terms of the potential CVR Agreement fol-

lowed, including the amount that would be paid to Celgene stockholders and the

events that would need to occur for the CVRs to become payable.




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      31.    Bristol-Myers and Celgene ultimately agreed that each CVR would

carry a one-time $9 payment, contingent on the FDA approving the marketing appli-

cations, known as Biologics License Applications (or BLAs) for biologics and New

Drug Applications for drugs,1 for three Celgene products (collectively, the “Milestone

Therapies”)—(i) Liso-cel, which treats diffuse large B-cell Non-Hodgkin’s lymphoma;

(ii) Ozanimod, which treats relapsing multiple sclerosis; and (iii) Ide-cel, which treats

relapsed and refractory multiple myeloma. The $9 per CVR payment was contingent

on each of those Milestones being achieved by contractually specified dates.

      32.    The dates for the Milestones were vigorously negotiated. The contract-

ing parties agreed to deadlines that both sides believed were achievable: December

31, 2020 for Liso-cel and Ozanimod, and March 31, 2021 for Ide-cel. If all three Mile-

stone Therapies were approved by their respective Milestones, Bristol-Myers would

owe the CVR holders a total of $6.4 billion. If any Milestone were missed, Bristol-

Myers would owe the CVR holders nothing.

      33.    The binary structure of the CVRs created perverse economic incentives

for Bristol-Myers: once the merger became effective, Bristol-Myers would control the

remaining development and marketing approval process for the Milestone Therapies,

so it could effectively eliminate a $6.4 billion liability by slightly delaying the ap-

proval process for any of the Milestone Therapies and still retain substantially all the

upside of the three Milestone Therapies. A delay of a few weeks, or even a few



1Therapies referred to as drugs tend to be chemically synthesized and have a known
chemical structure, whereas biologics are normally derived from the human body and
generally do not have a known structure.
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months, would have minimal impact on Bristol-Myers’s ultimate profits from selling

the Milestone Therapies but could be used to argue that Bristol-Myers had eliminated

its $6.4 billion payment obligation.

      34.    To protect the CVR holders from Bristol-Myers’s ability to manipulate

the timeline for its exclusive benefit, the CVR Agreement requires Bristol-Myers to

“use Diligent Efforts to achieve the Milestone[s].” Ex. A § 7.8. The CVR Agreement

defines “Diligent Efforts” to mean, in relevant part, the “efforts of a Person to carry

out its obligations in a diligent manner using such effort and employing such re-

sources normally used by such Person in the exercise of its reasonable business dis-

cretion relating to the research, development or commercialization of a product, that

is of similar market potential at a similar stage in its development or product life.”

Id. § 1.1. Thus, Bristol-Myers could not take steps to delay FDA approval of the Mile-

stone Therapies or sit idly by when the FDA raised serious issues that could delay

approval—either would be a breach of its obligation under the CVR Agreement to use

Diligent Efforts to achieve the Milestones.

      35.    Bristol-Myers controls much of the information relevant to determining

whether Bristol-Myers complied with the CVR Agreement, including its covenant to

use Diligent Efforts to achieve the Milestones. Thus, the CVR Agreement includes

two provisions designed to create accountability and ensure Bristol-Myers cannot

evade its obligations by hiding information that might reveal its non-compliance.

First, the CVR Agreement requires Bristol-Myers and its subsidiaries “to use com-




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mercially reasonable efforts to keep[] true, complete and accurate records in reason-

ably sufficient detail to enable the [CVR] Holders to determine if [Bristol-Myers] has

complied with its obligations under this CVR Agreement.” Id. § 7.5. Second, the CVR

Agreement authorizes the Trustee to obtain those records. Specifically, the CVR

Agreement states that the Trustee “shall be entitled to examine the pertinent books

and records of [Bristol-Myers]” to investigate “the facts or matters stated in any …

statement, opinion, report, notice … or other paper or document.” Id. § 4.2(f).

      36.    On January 3, 2019, Bristol-Myers and Celgene executed the merger

agreement. For each outstanding Celgene share, Celgene shareholders received one

share of Bristol-Myers common stock, $50 cash, and one CVR. Bristol-Myers an-

nounced that the merger would “creat[e] a leading focused biopharma company,”

which, among other things would be “positioned for long term leadership in hematol-

ogy.” Bristol-Myers stated that Liso-cel and Ide-cel were “high value near-term as-

sets,” and that Liso-cel, Ozanimod, and Ide-cel were three of “six near-term product

launch opportunities with potential for greater than $15 [billion] in revenue.” Bristol-

Myers noted that the acquisition would yield approximately $45 billion in “free cash

flow” for the first three years, and that it “expect[ed] to fulfill [the] CVR obligation

with ongoing cash flow.”

      37.    Bristol-Myers and Celgene shareholders approved the merger on April

12, 2019.

      38.    Both the merger and the CVR Agreement became effective on November

20, 2019.



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II.   Before Bristol-Myers’s Substantial Involvement, Liso-cel Was On The
      Fast Track For Approval

      39.    Before the merger, all three Milestone Therapies were on the fast track

for approval well ahead of the Milestones, including Liso-cel. Liso-cel, also known as

JCAR017 and by its trade name Breyanzi, is a lifesaving therapy for a highly vulner-

able set of patients with advanced-stage cancer. It is a chimeric antigen receptor T-

cell therapy (“CAR-T Therapy”) that treats patients with diffuse large B-cell Non-

Hodgkin’s lymphoma, which is the most common Non-Hodgkin’s lymphoma. Liso-cel

is used to treat patients for whom prior courses of treatment have failed. Like other

CAR-T Therapies, Liso-cel treats this terminal disease by extracting a cancer pa-

tient’s T-cells, which are white blood cells that kill infected or cancerous cells, genet-

ically modifying them to target and kill B-cells that have become malignant, and then

injecting the genetically modified T-cells into the patient, where they attack and kill

malignant B-cells.

      40.    Although Liso-cel is not the first FDA-approved CAR-T Therapy for dif-

fuse large B-cell Non-Hodgkin’s lymphoma—Novartis received FDA approval for

Kymriah in August 2017 and Gilead received FDA approval for Yescarta in October

2017—it is the most effective. Patients treated with Liso-cel have a remarkable over-

all response rate of 73% (meaning that in 73% of cases, the patient’s cancer reduces)

and have a complete response of 54% (meaning that in 54% of cases, all signs of cancer

disappear). Kymriah and Yescarta both have lower overall response rates and com-

plete response rates.




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      41.    Liso-cel’s demonstrated efficacy in treating—and in some cases curing—

diffuse large B-cell Non-Hodgkin’s lymphoma caused the FDA to designate it as both

a Breakthrough Therapy in 2016 and a Regenerative Medicine Advanced Therapy in

2017. Both designations expedite the development and review process. The FDA

designates a therapy as a Breakthrough Therapy only if the therapy is expected to be

a substantial improvement over existing treatments of a serious medical condition.

The FDA provides a Breakthrough Therapy intensive, interactive guidance during

the therapy’s development, with senior FDA personnel involved in a proactive, col-

laborative review of the therapy. Because of the life-saving nature of a Breakthrough

Therapy, such a designation allows the FDA to authorize a rolling review of the ther-

apy’s marketing application to allow the product to enter the market more quickly.

      42.    A Regenerative Medicine Advanced Therapy designation provides, in

addition to all the same benefits that a Breakthrough Therapy designation offers,

broader avenues to accelerate the review process further and to satisfy post-approval

requirements. The combined result of the Breakthrough Therapy and Regenerative

Medicine Advanced Therapy designations is an expedited development and review

process designed to allow the therapy to reach the market quickly so that it can start

saving lives as soon as possible.

      43.    Liso-cel continued its impressive trajectory following the FDA’s desig-

nations of Liso-cel as a Breakthrough Therapy and a Regenerative Medicine Ad-

vanced Therapy. Clinical trials showed strong overall and complete response rates

in patients suffering from diffuse large B-cell Non-Hodgkin’s lymphoma, and most



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patients did not experience the two life-threatening side-effects associated with Kym-

riah and Yescarta, cytokine-release syndrome and neurotoxicity. The FDA concluded

the clinical trials were “well-controlled” and “demonstrated high response rates and

durability of [complete response] rate.”

      44.    Immediately after the CVR Agreement and the Celgene acquisition be-

came effective, all signs continued to point to an expedited approval track for Liso-

cel. Celgene, now fully controlled by Bristol-Myers, completed the filing of the Liso-

cel BLA. A BLA is a request for permission to introduce, or deliver for introduction,

a biologic product into interstate commerce. Its issuance requires a determination

that the product, the manufacturing process, and the manufacturing facilities meet

applicable requirements to ensure the continued safety, purity, and potency of the

product. The BLA is the last step in the development process before a therapy can be

brought to market.

      45.    To enable the FDA to conduct its review, the BLA must include, among

other things, clinical data demonstrating the safety and efficacy of the therapy, infor-

mation concerning the manufacturing and controls for production, a detailed descrip-

tion of the manufacturing facility, and the proposed product label. Once the FDA has

reviewed the BLA, conducted facilities inspections, and concluded that the therapy is

efficacious, safe, and appropriately labeled, the FDA issues its approval.

      46.    Although Celgene had submitted the first component of the Liso-cel BLA

to the FDA on September 30, 2019, before the merger became effective, Bristol-Myers




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delayed submitting the most critical section of the BLA—the Chemistry, Manufac-

turing and Controls (“CMC”) section, which specifies the manufacturing processes,

product characteristics, and product testing upon which the manufacturer relies to

ensure that its therapy is safe, effective, and consistently manufactured. Bristol-My-

ers failed to submit the CMC section until December 18, 2019, nearly a month after

the merger became effective on November 20, 2019.

      47.    Upon the submission of the Liso-cel BLA on December 18, 2019, the FDA

had sixty days to conduct an initial review to determine whether the application was

complete and—critically—to determine whether to grant Priority Review. The FDA

reserves Priority Review for therapies that are significant improvements to the safety

or efficacy of the treatment, diagnosis, or prevention of a serious condition.

      48.    A “Priority Review” designation provides a substantial benefit to the

manufacturer. In general, the FDA commits to endeavor to review and render a de-

cision on a BLA by a set date, known as a PDUFA date. For non-priority BLAs, the

FDA sets the PDUFA date at ten months after the FDA completes its initial sixty-

day review. For BLAs slated for Priority Review, the FDA shortens the PDUFA date

to six months after the initial review.

      49.    The PDUFA date is of critical importance. The FDA has issued guidance

stating that it strives to approve or deny BLAs and New Drug Applications by the

PDUFA date at least 90% of the time. In reality, the FDA does even better. For the

155 BLAs and New Molecular Entity New Drug Applications (which are reviewed




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under the same program) granted Priority Review in fiscal years 2014 through 2018,2

the FDA made a decision by the PDUFA date in all but three instances, which is 98%

of the time. For fiscal years 2016 to 2018, the FDA approved those applications by

the PDUFA date 100% of the time.

         50.   The FDA completed its initial review of the Liso-cel BLA on February

13, 2020 and—because of Liso-cel’s potential to improve Non-Hodgkin’s lymphoma

treatment significantly—granted it Priority Review, shortening the approval time-

line from ten months to just six. This meant that the Liso-cel PDUFA date was Au-

gust 17, 2020, four and a half months before the December 31, 2020 Liso-cel Mile-

stone.

III.     Bristol-Myers Engages In Egregious Misconduct That Delays FDA
         Approval

         A.    Bristol-Myers Submits A Major Amendment To The Liso-cel
               BLA That Delays FDA Approval By At Least Three Months

         51.   When Bristol-Myers took control of Liso-cel following the merger, Liso-

cel’s development took a sudden and marked turn for the worse. The New Drug Ap-

plication for Ozanimod, one of the three Milestone Therapies, had been submitted

well before the merger closed, and the FDA granted Ozanimod approval on March 26,

2020, shortly after the merger closed. Thus, for Bristol-Myers to have a basis to argue



2 BLAs and New Molecular Entity New Drug Applications are both reviewed under
the FDA’s “Program for Enhanced Review Transparency and Communication for
NME NDAs and Original BLAs,” which sets out a defined review process and includes
regular meetings between FDA officials and the applications’ sponsors, “to promote
the efficiency and effectiveness of the first cycle review process and minimize the
number of review cycles necessary for approval, ensuring that patients have timely
access to safe, effective, and high quality new drugs and biologics.”
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that it did not have a $6.4 billion liability to CVR holders under the CVR Agreement,

it had to delay the FDA approval process for Liso-cel or Ide-cel, both of which were on

the fast-track for approval well before their respective Milestones.

      52.    That is precisely what Bristol-Myers did. Bristol-Myers’s first steps to

delay Liso-cel’s approval occurred shortly after the merger closed. In the CMC section

of the Liso-cel BLA submitted on December 18, 2019, Bristol-Myers made an ex-

tremely atypical decision. It chose to omit basic data detailing (i) the tests used to

ensure that Liso-cel is safe and efficacious, referred to as assays, and (ii) the studies

that assess whether those assays worked as they were supposed to, referred to as

validation. These data are rigorously compiled over the course of developing a bio-

logic and are routinely included in BLAs. As Bristol-Myers knew or should have

known, they are fundamental components of a BLA, without which the FDA cannot

make an informed decision, or any decision, on approval.

      53.    Predictably, on March 23, 2020, the FDA submitted an information re-

quest to Bristol-Myers seeking the missing data on assays and validation. On April

15, 2020, Bristol-Myers amended the CMC section of the BLA to provide the missing

data. Within weeks, the FDA concluded what must have been glaringly obvious to

Bristol-Myers: the new information Bristol-Myers provided in the amendment was so

substantial that it rose to the level of a “major amendment.” The “major amendment”

designation automatically triggered a three-month extension of the PDUFA date—

from August 17, 2020 to November 16, 2020, only weeks before the December 31,

2020 Liso-cel Milestone.



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      54.    Major amendments are rare. Because a major amendment automati-

cally extends the PDUFA date by three months, the FDA will declare a major amend-

ment only if there is a “substantial amount” of new data or new manufacturing or

facility information or if there is a new analysis of clinical studies not previously sub-

mitted to the FDA.

      55.    Practice bears out the FDA’s reluctance to declare a major amendment.

Of the 133 therapies approved in fiscal year 2019, only eighteen had a major amend-

ment. And of the 177 therapies approved in fiscal year 2018, only twenty had a major

amendment. The Government Accountability Office reported that from 2014 to 2018,

just four out of fifty-three New Drug Applications (the drug equivalent of a BLA)

designated for Priority Review had a major amendment filed. A major amendment

for a cancer therapy designated as both a Breakthrough Therapy and a Regenerative

Medicine Advanced Therapy and selected for Priority Review is exceedingly rare,

since the purpose of such designations is to ensure the FDA is deeply involved in the

therapy’s development. Had Bristol-Myers satisfied its contractual obligation to ex-

ercise Diligent Efforts to achieve the Liso-cel Milestone, there would not have been a

major amendment or the accompanying delay.

      56.    The market understood the implication of a major amendment for the

Liso-cel Milestone. The CVR, which had been trading at $4.50 at the end of April

2020, dropped to just $3.00 in the days following Bristol-Myers’s announcement of

the major amendment.




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      B.     The FDA Refuses To Accept Bristol-Myers’s Materially
             Deficient Ide-cel BLA

      57.    Bristol-Myers’s failure to exercise Diligent Efforts, however, was not iso-

lated to Liso-cel. Bristol-Myers also stalled the development of Ide-cel, the other

Milestone Therapy that the FDA had not yet approved. Like Liso-cel, Ide-cel had

been granted Breakthrough Therapy designation, putting it on the fast-track to ap-

proval.

      58.    On May 13, 2020, just one week after the FDA recognized Bristol-My-

ers’s Liso-cel amendment as a major amendment, the FDA announced it had issued

a refuse-to-file decision for Ide-cel. This decision meant that the BLA Bristol-Myers

submitted on March 31, 2020 for Ide-cel was so materially deficient that the FDA

would not review it. The FDA issues a refuse-to-file decision only if there is a “clear

omission of information or sections of required information,” “omission of critical

data, information or analyses needed to evaluate safety, purity and potency or pro-

vide adequate directions for use,” or “[i]nadequate content, presentation, or organiza-

tion of information such that substantive and meaningful review is precluded.” Re-

fuse-to-file decisions are exceedingly rare: only 98 out of 2,475 BLAs and New Drug

Applications submitted between 2008 and 2017 received a refuse-to-file decision.

Such decisions generally reflect an applicant’s unfamiliarity with the basics of the

FDA application process, and so are far rarer for major pharmaceutical companies

like Bristol-Myers—and rarer still for therapies designated as Breakthrough Thera-

pies or Regenerative Medicine Advanced Therapies. For those few refuse-to-file de-

cisions, FDA review takes substantially longer—approximately sixteen to eighteen


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additional months—than for BLAs and New Drug Applications that do not receive

refuse-to-file decisions.

         59.   After receiving the refuse-to-file decision, Bristol-Myers did not imme-

diately correct the deficient BLA. Instead, it delayed refiling for over two months,

finally resubmitting the BLA on July 31, 2020. This refiling restarted the FDA’s two-

month initial review process in which the FDA determines whether the BLA is com-

plete.

         60.   Had Bristol-Myers satisfied its obligation to exercise Diligent Efforts in

submitting an adequate BLA in the first place, the FDA’s formal review process would

have commenced by at least May 2020. Because of Bristol-Myers’s lack of Diligent

Efforts, the FDA did not start its formal review until September 22, 2020. This avoid-

able delay does not reflect Diligent Efforts and instead served to increase the odds of

missing the Ide-cel Milestone and eliminating a $6.4 billion obligation to the CVR

holders.

         C.    Bristol-Myers Fails To Prepare The Liso-cel Manufacturing
               Facilities, Delaying FDA Approval Further

         61.   Bristol-Myers’s misconduct continued during the next step in the Liso-

cel BLA review process: the Pre-License Inspection of the Liso-cel manufacturing fa-

cilities. A Pre-License Inspection aims to ensure that the facilities used to manufac-

ture a therapy comply with basic FDA safety regulations and requirements.

         62.   Bristol-Myers knew that the Pre-License Inspections were critical to

timely FDA approval of the Liso-cel BLA. The FDA had announced that, in response




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to the COVID-19 pandemic, it would selectively deploy its resources to inspect man-

ufacturing facilities for BLAs and New Drug Applications. The FDA rescheduled the

June 2020 Pre-License Inspections for Liso-cel’s manufacturing facilities after the

major amendment pushed the PDUFA date three months.

      63.    Nevertheless, the FDA understood the life-saving importance of Liso-

cel, so it rescheduled the Pre-License Inspection for the two facilities involved in the

manufacturing of Liso-cel for later in 2020. The two facilities that were to be in-

spected were the Juno Facility in Bothell, Washington and the Lonza Facility in Hou-

ston, Texas. Bristol-Myers completes the production of Liso-cel at the Juno Facility

and develops the viral vector—the component of Liso-cel that identifies malignant B-

cells—at the Lonza Facility. Bristol-Myers is responsible for ensuring that both fa-

cilities comply with FDA regulations, including through monitoring and instructing

its contract vendor Lonza concerning FDA compliance.

      64.    The FDA provides advance notice to manufacturers prior to conducting

Pre-License Inspections to give manufacturers the opportunity to fix problems before

the inspection and to streamline the Pre-License Inspection process. Bristol-Myers

was thus well aware of the upcoming Pre-License Inspections and had ample time to

prepare both facilities. But despite this notice and opportunity to prepare, both facil-

ities were woefully unprepared. Shortly after Bristol-Myers acquired Celgene, it de-

scribed Liso-cel’s manufacturing facilities in public presentations as “launch ready.”

But after a year of Bristol-Myers’s control, those facilities fell short on basic safety

and regulatory requirements.



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      65.    The Juno Facility inspection occurred from October 7, 2020 to October

16, 2020. Following that inspection, the FDA issued a Form 483, a form in which the

FDA documents “significant” issues identified during an inspection that may violate

FDA regulations because they pose a risk that the therapy could be adulterated and

harm patients. These observations must be addressed to the FDA’s satisfaction be-

fore approval is granted.

      66.    In the Form 483 for the Juno Facility, the FDA identified numerous,

easily avoidable deficiencies. The FDA observed, for example:

      a. Bristol-Myers failed to enforce procedures at the Juno Facility designed to
         prevent contamination of sterile drug products. Ex. B at 3.

      b. Bristol-Myers had failed to implement laboratory controls with appropriate
         specifications and procedures to ensure drugs conformed to appropriate
         standards of identity, strength, quality, and purity. Id. at 4.

      c. Bristol-Myers had, on numerous occasions, failed to review discrepancies
         between batches of Liso-cel—discrepancies that were not properly docu-
         mented and not properly corrected. Id.

      d. Bristol-Myers failed to ensure the reliability of third-party vendors’ Certif-
         icates of Analysis, which certify compliance with product specifications. Id.
         at 1.

      e. Bristol-Myers failed to establish appropriate follow-up procedures; for in-
         stance, if a Liso-cel batch did not meet specifications, Bristol-Myers did not
         take appropriate steps to understand why that batch had failed. Id. at 1.

      67.    Bristol-Myers’s overt failures to comport with basic FDA standards for

safe and reliable manufacturing further delayed the FDA’s approval of Liso-cel. On

November 5, 2020, nearly a month after the FDA began its inspection, Bristol-Myers

responded to the Form 483 and acknowledged many of the failures the FDA identi-




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fied. Bristol-Myers stated that it would take actions “to further enhance” its “pro-

cesses and controls and improve the overall effectiveness of [its] operations and qual-

ity system.” But the FDA pointed to “unclear and questionable points” in Bristol-

Myers’s response and required Bristol-Myers to supplement its response further.

Bristol-Myers did not complete its Form 483 response until December 18, 2020, over

two months after the FDA inspection, a month after the PDUFA date, and a matter

of days before the Liso-cel Milestone. The FDA could not complete its review of the

Liso-cel BLA until this response was complete. Had Bristol-Myers used Diligent Ef-

forts, such further delay would have been avoided.

      68.    The host of issues the FDA identified during the Juno Facility inspection

should have demonstrated to Bristol-Myers that the Liso-cel BLA was in jeopardy.

Bristol-Myers knew or should have known that it needed to make every effort to en-

sure that the Lonza Facility inspection—the last facility inspection in the FDA ap-

proval process—went smoothly. Bristol-Myers did not do so.

      69.    Following the FDA’s inspection of the Lonza Facility from December 3,

2020 to December 10, 2020, the FDA issued a Form 483 that identified a “litany of

errors.” Many of these errors overlapped with similar problems identified during the

Juno Facility inspection. For example, during the Juno Facility inspection, the FDA

had identified deficiencies in the timing and inspection of raw materials and in the

procedures designed to monitor the manufacturing environment for risks of microbi-

ological contamination of purportedly sterile products. Ex. B at 3. During the Lonza




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Facility inspection, the FDA observed a complete failure to inspect raw materials and

inadequate microbial contamination controls. Ex. C at 4.

       70.   Following the Juno Facility inspection, Bristol-Myers, a gigantic phar-

maceutical company that regularly files BLAs and New Drug Applications, could

have no reasonable doubt concerning what systems the FDA would be scrutinizing.

Bristol-Myers could have—and should have—ensured that Lonza corrected these is-

sues before the Lonza Facility inspection, but it chose not to.

       71.   The other issues the FDA observed at the Lonza Facility, while different

from those at the Juno Facility, reflected the opposite of Diligent Efforts. For exam-

ple:

       a. The FDA observed that materials intended for use within the United States
          were stored in the same bin within the same freezer that stored not only
          materials intended for foreign markets with different manufacturing re-
          quirements—but also materials that had been rejected by quality control.
          Id. at 1.

       b. Freezer bins containing materials were “poorly maintained and organized.”
          For example, the FDA noted “the bottom of the freezer was filled” with
          “overturned” bottles and “substantial frost” had built up on bottles. Id.

       c. Materials were labeled in a manner that made mix-ups likely. For example,
          “[b]ottles of both accepted and rejected material [we]re designated by a ‘RE-
          LEASED’ label that has green background and black text with identical
          font.” Thus, material that had failed quality control easily could have been
          confused for material that had passed. Id.

       d. The FDA also observed conduct in direct contravention of express written
          procedures, including procedures that required freezers containing quaran-
          tined materials to be kept locked and that required expired batches of drug
          materials to be discarded. Batches that had expired on April 30, 2020—
          more than seven months earlier—were still at the facility at the time of the
          FDA’s inspection. Id. at 2.




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      72.    Bristol-Myers first responded to the Form 483 for the Lonza Facility on

December 18, 2020, the same day it submitted its supplemental response to the Juno

Facility Form 483. This response, like the first response to the Juno Facility Form

483, was deficient and required Bristol-Myers to submit additional information,

which it did on December 23, 2020, just days before the Liso-cel Milestone and in the

middle of the winter holidays.

      73.    Had Bristol-Myers used Diligent Efforts, the myriad violations identi-

fied by the FDA at the Juno Facility and Lonza Facility—and the delay that re-

sulted—would not have happened and the Liso-cel Milestone would have been

achieved.

IV.   Bristol-Myers Refuses To Reveal Any Information Concerning Its
      Efforts To Meet The Milestones Despite Its Contractual Obligation To
      Do So

      74.    When these developments became public knowledge, certain CVR hold-

ers became concerned that Bristol-Myers had not complied with the CVR Agreement.

They directed the Trustee, acting on their behalf under the CVR Agreement, to in-

vestigate Bristol-Myers’s compliance with the CVR Agreement and, if appropriate, to

take action to enforce their rights.

      75.    To that end, the Trustee sent Bristol-Myers a letter on December 29,

2020, notifying Bristol-Myers that the Trustee was exercising its contractual right to

inspect Bristol-Myers’s books and records. Ex. A § 4.2(f). Specifically, the Trustee

requested:

      a. All documents constituting or concerning communications with the FDA
         concerning the amendment which resulted in the FDA extending the
         PDUFA date for Liso-cel, including any communications prior to May 13,
                                         28
            2020 concerning any manufacturing or other issues raised in any FDA com-
            munication relating to such extension;

      b. All documents constituting or concerning communications with the FDA
         concerning inspection of any facility identified in the BLA as a manufactur-
         ing site for Liso-cel;

      c. All documents addressing the risk of delay for approval of the Liso-cel BLA
         generated by Bristol-Myers or Celgene Corporation either before or after
         the CVR Agreement execution date;

      d. Documents sufficient to show all contingency planning for the manufacture
         of Liso-cel to avoid any risk of delay or failure of a Pre-License Inspection;

      e. All documents constituting or concerning any analysis done in the last 120
         days concerning the impact on the financial statements or prospects of Bris-
         tol-Myers in the event the Liso-cel Milestone was not achieved;

      f. All documents constituting or concerning efforts by Bristol-Myers to edu-
         cate relevant employees as to Bristol-Myers’s obligations to use Diligent Ef-
         forts to achieve the Liso-cel Milestone.

      76.      Providing the information requested should have been easy for Bristol-

Myers. As noted above, the CVR Agreement specifically requires Bristol-Myers to

“use commercially reasonable efforts to keep, and [to] cause it Subsidiaries to use

commercially reasonable efforts to keep, true, complete and accurate records in rea-

sonably sufficient detail to enable the [CVR] Holders to determine if [Bristol-Myers]

has complied with its obligations under this CVR Agreement.” Ex. A § 7.5.

      77.      To date, Bristol-Myers has refused to provide any information, breach-

ing its obligation under the CVR Agreement. Bristol-Myers knows that complying

with this contractual obligation would make plain its failure to use Diligent Efforts

to meet the Liso-cel Milestone. Bristol-Myers has rejected the Trustee’s request,

falsely claiming that the CVR Agreement has terminated. The CVR Agreement pro-

vides that the termination of the CVR Agreement “does not relieve any Party of any

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liability arising from any material breach of its obligations … occurring prior to the

Termination Date.” Ex. A § 1.16. The Trustee requested the information before the

date on which Bristol-Myers asserts the CVR Agreement terminated. Bristol-Myers

cannot escape its obligation to comply with the Trustee’s request by running out the

clock.

V.       Bristol-Myers Failed To Use Diligent Efforts To Achieve the
         Milestones, Causing It To Miss The Liso-cel Milestone Approval Date
         By Just Thirty-Six Days

         78.   Following the three-month delay caused by Bristol-Myers’s filing of a

major amendment to the Liso-cel BLA, the two calamitous facility inspections result-

ing in Forms 483 identifying violations, and the inadequate response to at least one

of those Forms 483, the Liso-cel Milestone passed on December 31, 2020 without FDA

approval.

         79.   In stark contrast to the delay Bristol-Myers exhibited throughout the

Liso-cel approval process, Bristol-Myers wasted no time in announcing that it no

longer owed $6.4 billion to the CVR holders. On New Year’s Day, January 1, 2021,

Bristol-Myers stated that “[b]ecause the milestone of approval of [L]iso-cel by Decem-

ber 31, 2020 was not met, the CVR Agreement has automatically terminated in ac-

cordance with its terms, the security will no longer trade on the NYSE, and the CVRs

are no longer eligible for payment.”

         80.   Thirty-six days later, the FDA approved the Liso-cel BLA. Had Bristol-

Myers used Diligent Efforts to achieve the Liso-cel Milestone—efforts which would

have avoided a major amendment that caused at least a three-month delay and two



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Forms 483 that caused several more months of delay—Bristol-Myers would have met

the deadline.

      81.       Had Bristol-Myers used Diligent Efforts to reach the Liso-cel Milestone,

Bristol-Myers would be obligated to pay $6.4 billion to CVR holders under the CVR

Agreement.

      82.       Bristol-Myers did not use Diligent Efforts. That much is evident by ex-

amining the FDA approval process for Gilead’s therapies Yescarta and Tecartus and

Novartis’s therapy Kymriah. These three therapies, each designated as a Break-

through Therapy, are CAR-T therapies that use a similar process as Liso-cel to treat

lymphoma. Each therapy has equivalent or lower projected revenue, is less effica-

cious, has a higher likelihood of side effects, and is priced lower than Liso-cel. As

Bristol-Myers has explained, it is Liso-cel that is “best-in-class”—not Yescarta, Kym-

riah, or Tecartus. Thus, Bristol-Myers had even more incentive to obtain FDA ap-

proval for Liso-cel quickly so that Liso-cel could be marketed and sold.

      83.       Nevertheless, Yescarta, Kymriah, and Tecartus moved through the FDA

approval process with substantially more ease. Neither Gilead nor Novartis submit-

ted a major amendment to any BLA. Overall, each submitted 40% to 80% fewer

amendments to the respective BLAs than Bristol-Myers submitted for Liso-cel. And

although Yescarta and Kymriah received Forms 483, no responses were reported as

containing “unclear and questionable points,” nor are there any reports that the FDA

requested additional responses to the Yescarta or Kymriah Forms 483 because initial

responses were deficient.



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      84.    Ultimately, Yescarta, Kymriah, and Tecartus were approved in a sub-

stantially shorter periods than Liso-cel:

              BLA Submission          FDA Approval         Days from Submission
 Therapy
                   Date                    Date                 to Approval
 Yescarta      March 31, 2017         October 19, 2017            202 Days

 Kymriah       March 28, 2017         August 30, 2017              155 Days

 Tecartus    December 11, 2019         July 24, 2020               226 Days

 Liso-cel    December 19, 2019       February 5, 2021              415 Days



      85.    Had Bristol-Myers used Diligent Efforts to achieve the Liso-cel Mile-

stone—as it was contractually obligated to do—the Liso-cel Milestone would have

been met.

VI.   The Trustee Sends Bristol-Myers A Notice Of Default, And Bristol-
      Myers Refuses To Cure Its Default

      86.    On March 4, 2021, the Trustee notified Bristol-Myers that Bristol-Myers

was in Default under the CVR Agreement because, among other things, Bristol-My-

ers had breached its obligations to use Diligent Efforts to achieve the Liso-cel Mile-

stone and to allow the Trustee to investigate Bristol-Myers’s books and records. Bris-

tol-Myers has not cured these breaches for over ninety days. Bristol-Myers’s breaches

have ripened into an Event of Default under the CVR Agreement.

                                  COUNT I
              Breach of Contract: Failure to Use Diligent Efforts

      87.    The Trustee incorporates the preceding paragraphs as if fully set forth

herein.



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      88.       Section 7.8 of the CVR Agreement, which is incorporated by reference in

each CVR, requires Bristol-Myers to use Diligent Efforts to achieve the Milestones

set forth in the CVR Agreement.

      89.       Bristol-Myers failed to use Diligent Efforts to achieve the Liso-cel Mile-

stone by, among other things, submitting an inadequate Liso-cel BLA to the FDA,

causing a major amendment to the Liso-cel BLA (which, in turn, triggered a three-

month extension to the Liso-cel PDUFA date), failing to maintain the Juno Facility

and Lonza Facility adequately, failing to prepare those facilities for inspection by the

FDA, and inadequately responding to at least some of the FDA’s findings.

      90.       Each of these demonstrates Bristol-Myers’s failure to exercise Diligent

Efforts in violation of Section 7.8 of the CVR Agreement.

      91.       As a result of Bristol-Myers’s breach of its obligation to use Diligent Ef-

forts to achieve the Milestones, the FDA did not approve the Liso-cel BLA by Decem-

ber 31, 2020.

      92.       The Trustee notified Bristol-Myers of Bristol-Myers’s breach on March

4, 2021.

      93.       Over ninety days have passed since the Trustee notified Bristol-Myers

of Bristol-Myers’s breach without Bristol-Myers curing the breach.

      94.       Bristol-Myers’s breach of Section 7.8 of the CVR Agreement has ripened

into an Event of Default pursuant to Section 8.1(b) of the CVR Agreement.

      95.       As a result, the Trustee, as trustee of an express trust for the benefit of

the CVR holders, has suffered damages in an amount to be determined at trial.



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                                 COUNT II
             Breach of Contract: Books and Records Inspection

      96.    The Trustee incorporates the preceding paragraphs as if fully set forth

herein.

      97.    Section 4.2(f) of the CVR Agreement allows the Trustee to initiate in-

quiries or investigations into Bristol-Myers’s compliance with its obligations under

the CVR Agreement and entitles the Trustee to examine Bristol-Myers’s books and

records as may be reasonably necessary for its inquiry or investigation.

      98.    On December 29, 2020, the Trustee, pursuant to Section 4.2(f) of the

CVR Agreement, requested to investigate representations made in documents con-

cerning delays in the approval process for the Milestone Therapies.

      99.    To date, Bristol-Myers has failed to provide the Trustee access to its

books and records to allow the Trustee to conduct its inquiry or investigation into

Bristol-Myers’s compliance with its obligations under the CVR Agreement.

      100.   Bristol-Myers’s refusal to cooperate with the Trustee’s requests consti-

tutes a breach of Section 4.2(f) of the CVR Agreement.

      101.   The Trustee notified Bristol-Myers of Bristol-Myers’s breach on March

4, 2021.

      102.   Over ninety days have passed since the Trustee notified Bristol-Myers

of Bristol-Myers’s breach without Bristol-Myers curing the breach.

      103.   Bristol-Myers’s breach of Section 4.2(f) of the CVR Agreement has rip-

ened into an Event of Default pursuant to Section 8.1(b) of the CVR Agreement.




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      104.     The Trustee has incurred expenses to engage in an investigation that

would have been obviated or reduced in scope had Bristol-Myers complied with its

obligations.

      105.     As a result, the Trustee, as trustee of an express trust for the benefit of

the CVR holders, has been damaged in an amount to be determined at trial.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court grant the fol-

lowing relief:

      a. An award of monetary damages in an amount to be proven at trial on Count
         I;

      b. An award of monetary damages in an amount to be proven at trial on Count
         II;

      c. An award of pre- and post-judgment interest (including pursuant to the
         statutory rates of interest set under New York law);

      d. An award of reasonable attorney’s fees and costs of suit; and

      e. An award of any and all other such relief, legal or equitable, as the Court
         may deem just and proper under the circumstances.




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                                JURY DEMAND

    Plaintiff demands a trial by jury for all issues so triable as a matter of right.


Dated: New York, NY                    Respectfully submitted,
       June 3, 2021
                                       SELENDY & GAY PLLC


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